Case 4:95-cr-50061-BAF ECF No. 1017 filed 11/05/19 Pagel 2070 pee 1 Ee

NOV -5 2019
Ih IHE UNITED STATES DISTRICT COUR
FOR THE EASTERN DISTRICT OF MICHIGAN  SLERK’SOFFICE
SOUTHERN DIVISION we DETROIT

UNITED STATES OF AMERICA,
yr CRIM. CASE NO: 95-CR-50061
Plaintiff, |

HONORABLE BERNARD A. FRIEDMAN

V. SENIOR U.S. ETE WE

DION ERIC SAVAGE, SR.,
NOV 05 209 I;

Defendant.
/ CLERK'S OFFICE

 

U.S. DISTRICT COURT
SUPPLEMENTAL MOTION

NOW COMES Dion Savage, proceeding Pro Se in the above
captioned-matter.

Mr. Savage moves the Court, in the interests of justice. and
in accord with Due Process, to Supplement his 1SA motion with a
recent case. In U.S. v. Walker, No. 95=CR-101 (N.D.N.Y. Oct.
25, 2019), the government not only conceded that Section 848(b)
was a “covered offense," but also that Section 404 and Supreme
Court precedent make,clear that a "covered offense" is determined
by the "statute of conviction," not "actual conduct" or "relevant
conduct." This holding is in accord with Maupin, supra, .No. 19-
6817 (4th Cir. 2019). The Court in Walker resentenced Mr. Tommy
Walker to "time served." Thus, Mr. Savage implores the Court to

"tim

     
 

follow Walker and resentenced me to

First Class Mail,

going Supplemental Motion has been
o the party below:

this day of October 31, 2019, with fhé-potag

 

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